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                               Case No. 24-6136

                                    In The
   United States Court of Appeals for the Ninth Circuit
                         ____________________

                               J. DOE 1, et al.,
           Individually and on behalf of all others similarly situated,

                                                  Plaintiffs and Petitioners

                                        v.

                             GITHUB, INC., et al.,

                                          Defendants and Respondents
                            ____________________

           Petition for Permission to Appeal a Certified Order from
     the United States District Court for the Northern District of California,
                  No. 4:22-cv-06823-JST, Hon. Jon S. Tigar

      REPLY TO GITHUB AND MICROSOFT’S OPPOSITION TO
               PETITIONERS’ MOTION TO SEAL

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       Plaintiff-Petitioners J. Does 1-5 (“Petitioners”) respectfully submit this

Reply to Defendant-Respondents GitHub Inc. and Microsoft Corp.’s

(“Respondents”) Opposition to Petitioners’ Motion to Maintain Seal. Dkt. 23.1.

(“Opp”). Respondents seek to sweep aside the district court’s factual findings that

Petitioners have a reasonable fear of violence and injury, including death, if their

identities are revealed. Respondents know the identities of the Petitioners,

providing them a full opportunity to defend themselves in this case. The district

court’s orders protect Petitioners’ identities from public disclosure in various

forms, including their unique computer code which contains specific identifying

information. Once again, Respondents seek to avoid the district court’s orders in

the context of disputing the Court’s ordinary sealing procedures. There is no reason

to upset the procedures protecting these individuals from these substantiated

threats. Recycling arguments that now failed on numerous occasions, Respondents

fail to demonstrate a basis for doing so.

I.     The District Court Repeatedly Ordered and Approved Petitioners’
       Computer Code to be Redacted.

       Respondents’ assertion that Petitioners have “expanded the scope of material

they seek to maintain under seal beyond their names” is incorrect. Opp. at 10.

Respondents ignore that the district court repeatedly allowed Petitioners’ computer

code at issue, which contains identifying information, to be sealed in the following

filings:

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                                   DOCUMENTS
                Document                                        Cite
 First Amended Complaint                      D. Ct. Dkt. 133, filed July 21, 2023
 Respondents’ Motion to Dismiss               D. Ct. Dkt. 193, filed January 16, 2024
 Petitioners’ First Amended Complaint
 Petitioners’ Second Amended                  D. Ct. Dkt. 204, filed January 30, 2024
 Complaint
 Respondents’ Motion to Dismiss               D. Ct. Dkt. 225, filed March 3, 2024
 Portions of the Second Amended
 Complaint
 Respondents’ Reply in Support of             D. Ct. Dkt. 245, filed April 15, 2024
 Their Motion to Dismiss Portions of
 the Second Amended Complaint


If this information were revealed, the protections afforded to Petitioners’ identities

would be abrogated.

      As the record shows, the district court first allowed Petitioners to proceed

pseudonymously based on their reasonable, demonstrable fears of actual and

serious threats of violence and death directed at them and their counsel. Doe 1 v.

GitHub, Inc., 672 F. Supp. 3d 837, 854 (N.D. Cal., May 11, 2023). Then,

consistent with that order, and upon a showing by Plaintiffs, the district court

found good cause to allow Petitioners’ computer code to be redacted and sealed in

their First Amended Complaint, along with their names, because the code is

unique, published in Petitioners’ public GitHub repositories, and can be used to

personally identify Petitioners. D. Ct. Dkt. 97, 133. The district court thereafter

allowed redaction of both Petitioners’ code and names in the Second Amended

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Complaint and in subsequent motion to dismiss briefing D. Ct. Dkt. 193, 204, 225,

245.

       Here, Petitioners move the Court to maintain the seal on Doe 1’s and Doe

2’s computer code that Respondents provisionally filed under sealed in their

Response to Petitioners’ Petition for Permission to Appeal (Dkt. 14.2, pgs.13, 24).

Petitioners are moving for relief of the sort repeatedly granted by the district court.

II.    There Are No New Reasons to Unseal Petitioners’ Code.

       The petition for interlocutory appeal involves a purely legal question of

whether liability under sections 1202(b)(1) and (b)(3) of the Digital Millenium

Copyright Act (“DMCA”), 17 U.S.C. §§ 1202(b)(1) and (b)(3), require

“identicality,” and if so, what that means in the context of each section. Dkt. 1. But

Respondents suggest that the public now needs to see Petitioners’ actual code in

this appeal because “no decision can provide guidance to courts and litigants if

they cannot see the material allegations upon which it is based.” Opp. at 2.

Respondents advance this claim without any factual or logical support. The district

court has also already held otherwise, finding that “[w]ithholding the true identities

of the individual software developers who bring this case will not obstruct public

scrutiny of the issues raised.” Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 854. This

reasoning applies in equal force here. In fact, the contents of Petitioners’ code is

not relevant to the purely legal issue of the interpretation of the DMCA, which is


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the issue certified for interlocutory review under 28 U.S.C. § 1292(b). And if it

were, the identifying information present in the code can be sealed without limiting

appellate review.

      Beyond the important DMCA issue certified for review, Respondents now

suggest that the content of Petitioners’ code is somehow newly relevant and argue

incoherently that the district court previously missed balancing factors in sealing

that code, that now require “rebalancing.” Opp. at 6. This is incorrect. After

considering Petitioners’ argument for sealing their code along with their names in

the First Amended Complaint, D. Ct. Dkt. 97, the district court granted Petitioners’

motions to seal their code, D. Ct. Dkt. 133, and then again in four subsequent

orders. D. Ct. Dkt. 193, 204, 225, 245. Once again, the district court carefully

considered the standing issues and found that Petitioners possessed the requisite

standing under Article III. See Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 849-852

(finding Petitioners have standing to pursue injunctive relief based on likely harm

to intellectual property). The content of Petitioners’ code is not necessary to this

determination. Even if it were, these issues could be addressed by maintaining the

records under seal.

      Respondents identify media coverage surrounding this litigation and

conclude that Petitioners’ counsel “has continued to publicize the case and his

involvement in it, seemingly perceiving no danger to doing so.” Opp. at 8. This is



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off base. This and other AI cases have garnered public attention because of the

importance of the issues at stake, which is one of the reasons strongly suggesting

the need for interlocutory review. In responding to such attention, Respondents and

their counsel have assiduously protected the identity of their clients, consistent

with the district court’s order. Moreover, because Petitioners’ counsel have done

so, they, rather than Petitioners, have been the direct recipients of the threats

brought to the district court’s attention. As the district court found, “[w]hile the

threatening emails were not sent to Plaintiffs directly, the emails wish death upon

Plaintiffs’ counsel on the basis of their involvement in this lawsuit. It is reasonable

for Plaintiffs to fear that such threats might be carried out against them if their

identities were to become public.” Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 853.

There is no principled reason to disturb the district court’s finding that Petitioners’

fear of retaliation and violence is reasonable here.

III.   Petitioners Meet the Kamehameha Standard to Justify Sealing Their
       Code.

       Respondents continue to assert that the Petitioners do not meet the standard

for sealing and redacting under Doe v. Kamehameha Sch./Bernice Pauahi Bishop

Est., 596 F.3d 1036, 1042 (9th Cir. 2010). Opp. at 11. Respondents claim, “the sole

basis Plaintiffs provide for sealing both their names and material allegations in the

Second Amended Complaint is the desire to remain anonymous.” Opp. at 8. This is

at odds with the record. The district court specifically applied the Kamehameha

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standard, indeed finding the threats of physical harm here “present the

paradigmatic case for allowing anonymity.” Doe 1 v. GitHub, Inc., 672 F. Supp. 3d

at 852 (cleaned up, quoting Kamehameha, 596 F.3d at 1043). The basis, as the

district court acknowledged, is Petitioners’ reasonable fear of harm based on

threats of violence: “Where many individuals take the time to send private,

threatening emails, it is reasonable to fear that some of those individuals might

carry out their threats.” Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 853.

      Given the direct threats upon Petitioners’ counsel, the district court found it

“reasonable for Plaintiffs to fear that such threats might be carried out against them

if their identities were to become public.” Id. Indeed, as shown by the threats

themselves, those wishing harm upon Petitioners have done so using their own

contact information and without hiding their own identities, indicating a

heightened threat.1




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  Respondents’ argument that the passage of time overrides Petitioners’ reasonable
fear of harm is unpersuasive. The district court found as little as seven months ago
that Petitioners could continue to proceed anonymously. D. Ct. Dkt. 245, filed
April 15, 2024. And indeed, the passage of time without continued threats
evidences the soundness of the district court’s judgment in protecting Petitioners’
identities. Given the continued public attention of this case, there is no reason to
undo these protections now.

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      A.     Petitioners Have Demonstrated Reasonable Fear of Harm and are
             Vulnerable to Retaliation.

      The Court should reject Respondents’ cavalier dismissal of death threats

against Petitioners as mere “trolling.” Opp. at 11 (“These emails are the sort of

odious trolling that is an unfortunate reality of the modern internet and that cannot

justify proceeding in secret.”). Respondents have made this irresponsible argument

before—the district court already considered and soundly rejected these arguments.

Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 853 (holding that “direct messages

containing veiled death threats would seem to constitute behavior beyond trolling,”

while noting nonetheless that “GitHub and Microsoft do not explain why the rise

of internet trolls renders Plaintiffs’ fears of harm unreasonable.”). The district court

held that “[t]hese were not public posts mocking or antagonizing Plaintiffs’

counsel, but rather private emails, sent directly to Plaintiffs’ counsel, wishing him

and his family violent death, while using inflammatory and incendiary language.”

Id. The court concluded, “Where many individuals take the time to send private,

threatening emails, it is reasonable to fear that some of those individuals might

carry out their threats.” Id. Other than pointing to the passage of time, which

demonstrates the success of the steps taken, including the sealing of Petitioners’

names and code, to mitigate the receipt of violent, threatening emails, Respondents




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offer no principled reason to disturb the district court’s conclusions and the status

quo keeping Petitioners’ code sealed.

      B.     Neither Respondents nor the Public Will be Prejudiced by
             Continuing to Seal Petitioners’ Code.

      Respondents claim they will “be prejudiced by the inability to vindicate their

products in view of the public,” citing Kamehameha, 596 F.3d at 1045 n.7. Opp. at

14. The Court should come to the same conclusion as it did in Kamehameha: “We

doubt that anonymity would hinder the defendants’ standing defense.”

Kamehameha, 596 F.3d at 1045 n.7. In Kamehameha, the identities of the Does

there were known to the Defendants. Id. The same is true here. As the district court

held, Respondents know who the Petitioners are, and their discovery is not

hindered by anonymity. Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 853-854. Where

the defendants know the plaintiffs’ names, “anonymity need not, and should not,

impede either party's ability to develop its case[.]” Id. at 853 (internal citations and

punctuation omitted). Respondents had the information necessary to assert a lack

of standing, which they attempted to do, and lost. Respondents have the

information necessary for this appeal.

      The district court also considered and rejected Respondents’ arguments

regarding prejudice to the public. Opp. at 16. The district court held that “the

public interest factor does not weigh against permitting Plaintiffs to proceed

pseudonymously.” Doe 1 v. GitHub, Inc., 672 F. Supp. 3d at 854. The district court

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held that “[w]ithholding the true identities of the individual software developers

who bring this case will not obstruct public scrutiny of the issues raised. Plaintiffs’

names and identities have no bearing on the central issues of this case, including

whether Defendants’ AI-based coding tools illegally reproduce licensed code used

as training data.” Id.2 There is no principled reason to reject the district court’s

conclusion.

IV.     Conclusion

        For the foregoing reasons, the Court should grant the Petitioners’ motion

(Dkt. 21) to continue to seal their computer code that Respondents provisionally

filed under sealed in their Response to Petitioners’ Petition for Permission to

Appeal (Dkt. 14.2, pgs.13, 24).


    Dated: November 25, 2024                    s/ Joseph R. Saveri
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2
 Respondents’ claim that the “public would remain in the dark as to who is
challenging the technology, and their basis for doing so” is incorrect. Opp. at 16.
The operative complaints make it clear the Petitioners are members of the open-
source code community who post their code on GitHub.

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the length limits permitted by Federal Rules of

Appellate Procedure 27(d). This reply brief is 2018 words. The type size and

typeface comply with Rule 32(a)(5). I further certify that this brief complies with

the typeface and type-style requirements of Rule 32(a)(5)-(6) because it is printed

in a proportionally spaced 14-point font, Times New Roman.



Dated: November 25, 2024                        /s/ Joseph R. Saveri
                                                    Joseph R. Saveri




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